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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                    :
Tina Brisbois,                                      :
                                                    : Civil Action No.: ______
                        Plaintiff,                  :
        v.                                          :
                                                    :
MLA Law Offices, LTD and Rent-A-Center,             : COMPLAINT
Inc. dba Acceptance Now,                            :
                                                    :
                        Defendants.                 :
                                                    :

                 For this Complaint, the Plaintiff, Tina Brisbois, by undersigned counsel, states as

follows:

                                           JURISDICTION

        1.       This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), the Massachusetts Consumer

Protection Act, M.G.L. c. 93A § 2, et seq. (“MCPA”), Massachusetts Debt Collection

Regulations, 940 CMR § 7.00 et seq. (“MDCR”) and the invasions of Plaintiff’s personal privacy

by the Defendants and its agents in their illegal efforts to collect a consumer debt.

        2.       Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                              PARTIES

        4.       The Plaintiff, Tina Brisbois (“Plaintiff”), is an adult individual residing in

Marlborough, Massachusetts. She is alleged to owe a debt and therefore is a “consumer” as the

term is defined by 15 U.S.C. § 1692a(3) and is a “debtor” as defined by 940 CMR § 7.03.
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       5.      Defendant MLA Law Offices, LTD (“MLA) is a Chicago business entity with an

address of 3450 South Halstead Street, Suite 209, Chicago, Illinois 60608, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Defendant, Rent-A-Center, Inc. dba Acceptance Now (“RAC” and together with

MLA collectively referred to as “Defendants), is a Texas business entity with an address of 5501

Headquarters Drive, Plano, Texas 75024, and is a “creditor” as defined by 940 CMR § 7.03.

                      ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       7.      A financial obligation (the “Debt”) was allegedly incurred to RAC (the

“Creditor”).

       8.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       9.      The Debt was purchased, assigned or transferred to MLA for collection, or MLA

was employed by the Creditor to collect the Debt.

       10.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Defendants Engage in Harassment and Abusive Tactics

       11.     In July of 2018, RAC repeatedly called Plaintiff’s residential and cellular

telephones in an attempt to collect the Debt.

       12.     RAC called Plaintiff at an excessive and harassing rate, placing more than two

calls in a seven day period to Plaintiff.




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          13.   In its initial letter addressed to Plaintiff dated August 29, 2018, MLA failed to

properly state that Plaintiff has 30 days from receipt of the letter to dispute the Debt, as required

by law.

    C. Plaintiff Suffered Actual Damages

          14.   The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

          15.   As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                    COUNT I
                   VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.
                            as to MLA Law Offices, LTD

          16.   The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

          17.   The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

          18.   The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

unfair and unconscionable means to collect a debt.

          19.   The Defendant’s conduct violated 15 U.S.C. § 1692g(a)(3) in that Defendant

failed to send the Plaintiff a validation notice stating the Plaintiff’s right to dispute the Debt

within thirty days.

          20.   The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

          21.   The Plaintiff is entitled to damages as a result of Defendant’s violations.
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                                             COUNT II

         VIOLATIONS OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
         M.G.L. c. 93A § 2, et seq. and MASSACHUSETTS DEBT COLLECTION
                         REGULATIONS, 940 CMR § 7.00 et seq.
                      as to Rent-A-Center, Inc. dba Acceptance Now


       22.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       23.      The Defendant employed unfair or deceptive acts to collect the Debt, in violation

of M.G.L. c. 93A § 2.

       24.     Specifically, the Defendant initiated communication with the Plaintiff via

telephone to Plaintiff’s residence and cellular telephone, more than two times within a seven-

day period, in violation of 940 CMR § 7.04(1)(f).

       25.     The Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.

                                     COUNT III
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION
                     as to Rent-A-Center, Inc. dba Acceptance Now

       26.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       27.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       28.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

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       29.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with the above referenced telephone calls.

       30.     The telephone calls made by Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       31.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       32.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       33.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.

                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

                   4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                       c. 93A § 9(3);

                   5. Actual damages from Defendants for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent
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                    FDCPA violations and intentional, reckless, and/or negligent invasions of

                    privacy in an amount to be determined at trial for the Plaintiff;

                 6. Punitive damages; and

                 7. Such other and further relief as may be just and proper.


                       TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: October 19, 2018

                                            Respectfully submitted,

                                            By       /s/ Sergei Lemberg

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